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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION



Kevin and Deborah Langager,                         )          C/A No: 3:17-cv-03161-CMC
                                                    )
                             Plaintiffs,            )          ORDER OF DISMISSAL
                                                    )
                      vs.                           )
                                                    )
The United States of America,                       )
                                                    )
                             Defendant.             )
                                                    )

               This Court having been advised by counsel for the parties that the above action

has been settled,

               IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice, and upon good cause shown within sixty (60) days, any party may petition the Court

to reopen the action if settlement is not consummated.




                                      s/Cameron McGowan Currie
                                     CAMERON McGOWAN CURRIE
                                     SENIOR UNITED STATES DISTRICT JUDGE




February 5, 2019
Columbia, South Carolina
